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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )               8:06CR99
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
JESUS TIRADO-MACIEL,                              )
RAYMOND C. WHITBECK, SR., and                     )
KIMBERLY THIEM,                                   )
                                                  )
                     Defendants.                  )
       This matter is before the court on the motion to continue by defendant Jesus Tirado-
Maciel (Tirado-Maciel) (Filing No. 46). Tirado-Maciel seeks a continuance of the trial of
this matter which is scheduled for May 30, 2006. Counsel for the government has no
objection to the motion. Tirado-Maciel's counsel represents that Tirado-Maciel will submit
an affidavit in accordance with paragraph 9 of the progression order whereby Tirado-Maciel
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act. Upon consideration, the motion
will be granted, and trial of this matter as to all defendants will be continued.
       IT IS ORDERED:
       1.     Tirado-Maciel's motion to continue trial (Filing No. 46) is granted.
       2.     Trial of this matter as to all defendants is re-scheduled for July 31, 2006,
before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between May 23, 2006 and July 31, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 23nd day of May, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
